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UNITED STATES DISTRICT COURT Oo
SOUTHERN DISTRICT OF INDIANA T7ROV-S PH AE43
INDIANAPOLIS DIVISION agPE best fig mam
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UNITED STATES OF AMERICA, )
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Plaintiff, )
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v } 4 517-cr- 0222 IMS -TAB
)
DAVID C. CARROLL, ) CAUSE NO. 1:17-cr- -01
MICHAEL HYATTE, ) -02
LANCE L. HATCHER, JR., ) -03
a/k/a Mont Mont, )
NATHANIEL DIXSON, ) -04
a/k/a Dog, )
CONWAY JEFFERSON, ) -05
a/k/a Lil C, )
DEREK ATWATER, ) -06
a/k/a Shorty, )
ROBERT LISENBY, JR., ) -07
a/k/a Russ, )
TORIN A. HARRIS, ) -08
JOHN E. BELL, ) -09
SHEMILAH D. CROWE, and ) -10
JAMES O. BEASLEY, ) -11
a/k/a Jake )
)
Defendants, )
INDICTMENT
COUNT ONE

[Conspiracy to Distribute Methamphetamine — 21 U.S.C. § 846]
The Grand Jury charges that:
From on or about June 3, 2017 through November 9, 2017, in the Southern District of
Indiana, Indianapolis Division, and elsewhere, DAVID C. CARROLL, MICHAEL HYATTE,
LANCE L. HATCHER, JR., a/k/a Mont Mont, NATHANIEL DIXSON, a/k/a Dog, CONWAY

JEFFERSON, a/k/a Lil C, DEREK ATWATER, a/k/a Shorty, ROBERT LISENBY, JR., a/k/a

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Russ, TORIN A. HARRIS, JOHN E. BELL, SHEMILAH D. CROWE, and JAMES O.
BEASLEY, a/k/a Jake, and did knowingly and intentionally conspire together and with other
persons, known and unknown to the Grand Jury, to distribute 500 grams or more of a mixture or
substance containing a detectable amount of methamphetamine, a Schedule II, Non-Narcotic
controlled substance, in violation of Title 21, United States Code, Section 841(a)(1).

MANNER AND MEANS

1. DAVID C. CARROLL (“CARROLL”), a resident of Indianapolis, Indiana,
received methamphetamine from multiple sources in the Indianapolis area.

2. MICHAEL HYATTE (““HYATTE”) stored methamphetamine and drug proceeds
for CARROLL at his apartment in the Constitution Gardens apartment complex located in
Indianapolis.

3. CARROLL distributed the methamphetamine from an apartment in the
Constitution Gardens apartment complex in Indianapolis. CARROLL supplied numerous
individuals with methamphetamine for distribution, including LANCE L. HATCHER, JR.
(“HATCHER”), NATHANIEL DIXSON, a/k/a Dog (““DIXSON”), CONWAY JEFFERSON,
a/k/a Lil C (“JEFFERSON”), DEREK ATWATER, a/k/a Shorty (““ATWATER”), ROBERT
LISENBY, JR., a/k/a Russ (““LISENBY”), TORIN A. HARRIS (“HARRIS”), JOHN E. BELL
(“BELL”), SHEMILAH D. CROWE (“CROWE”), and JAMES O. BEASLEY, a/k/a Jake
(“BEASLEY”).

4. Throughout the conspiracy, the defendants used telephones to facilitate the drug
trafficking operation. The defendants spoke on telephones using code language to discuss their

drug trafficking operation.
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OVERT ACTS

In furtherance of the conspiracy and to accomplish the object of the conspiracy, that is to
distribute methamphetamine, the members of the conspiracy did commit, among others, the
following overt acts:

1. On June 21, 2017, CARROLL agreed to deliver one-half ounce of
methamphetamine to DIXSON for distribution to another individual.

2. On June 25, 2017, CARROLL agreed to provide HATCHER with two pounds of
methamphetamine for distribution to another individual.

3. Prior to August 1, 2017, CARROLL pooled his drug proceeds with other
methamphetamine traffickers to acquire a large shipment of methamphetamine from Phoenix,
Arizona. The pooled money was provided to two individuals known to the grand jury
(“Individual #1” and “Individual #2”) to transport to Phoenix, Arizona on a Greyhound bus,
where Individual #1 and Individual #2 would use the money to purchase a large quantity of
methamphetamine. Law enforcement officers interdicted Individual #1 and Individual #2 ona
Greyhound bus in Albuquerque, New Mexico and seized approximately $84,500 in drug
proceeds. Approximately $14,000 of the $84,500 that Individual #1 and Individual #2 possessed
constituted money that CARROLL had contributed to purchase the methamphetamine in
Arizona.

4. On August 2, 2017, CARROLL delivered approximately two ounces of
methamphetamine to LISENBY for redistribution.

5. On August 8, 2017, JEFFERSON agreed to deliver one-eighth of an ounce of

methamphetamine to another individual.
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6. On August 9, 2017, CARROLL received over four pounds of methamphetamine
from an unknown source of supply. Prior to obtaining the methamphetamine from his source,
CARROLL met HYATTE at HYATTE’s apartment and obtained money that he (CARROLL)
had previously stashed in HYATTE’s apartment. CARROLL used this money to pay his source
of supply for the methamphetamine.

7. On August 9, 2017, CARROLL delivered approximately nine ounces of
methamphetamine to HARRIS for redistribution.

8. On August 9, 2017, CARROLL delivered approximately one ounce of
methamphetamine to BELL for redistribution.

9. On August 9, 2017, CARROLL delivered approximately eight ounces of
methamphetamine to another individual for redistribution.

10. On August 9, 2017, JEFFERSON asked CARROLL to deliver three or four
ounces of methamphetamine to another individual.

11. On August 10, 2017, CARROLL delivered approximately twelve ounces of
methamphetamine to ATWATER for redistribution.

12. On August 24, 2017, CARROLL delivered approximately one ounce of
methamphetamine to CROWE for redistribution.

13. On September 10, 2017, CARROLL delivered approximately seven ounces of
methamphetamine to BEASLEY for redistribution.

14. On September 11, 2017, CARROLL delivered approximately three ounces of
methamphetamine for BEASLEY for redistribution.

15. On September 11, 2017, BEASLEY possessed approximately two and one quarter

ounces of methamphetamine in a vehicle located at North Sherman Drive and Nowland Avenue
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in Indianapolis and an additional three ounces of methamphetamine at a residence located at
4801 Linden Drive, Indianapolis.

All in violation of Title 21, United States Code, Section 846.

COUNT TWO
[Possession of Methamphetamine With Intent to Distribute — 21 U.S.C. § 841(a)(1)]
The Grand Jury further charges that:
On or about August 9, 2017, within the Southern District of Indiana, Indianapolis
Division, JOHN E. BELL, did knowingly and intentionally possess with intent to distribute a
mixture or substance containing a detectable amount of methamphetamine, a Schedule II, Non-

Narcotic controlled substance, in violation of Title 21, United States Code, Section 841(a)(1).

COUNT THREE
[Possession of Methamphetamine With Intent to Distribute — 21 U.S.C. § 841(a)(1)]

The Grand Jury further charges that:

On or about September 11, 2017, within the Southern District of Indiana, Indianapolis
Division, JAMES O. BEASLEY, a/k/a Jake, did knowingly and intentionally possess with intent
to distribute 50 grams or more of a mixture or substance containing a detectable amount of
methamphetamine, a Schedule II, Non-Narcotic controlled substance, in violation of Title 21,

United States Code, Section 841(a)(1).
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FORFEITURE ALLEGATIONS

1. The allegations in Counts One through Three of this Indictment are realleged as if
fully set forth here, for the purpose of giving the defendants notice of the United States’ intent to
seek forfeiture pursuant to Title 21, United States Code, Section 853, Title 18, United States

Code, Section 924, and Title 28, United States Code, Section 2461.

2. If convicted of the offenses set forth in Counts One through Three of this
Indictment, DAVID C. CARROLL, MICHAEL HYATTE, LANCE L. HATCHER, JR.,
NATHANIEL DIXSON, a/k/a Dog, CONWAY JEFFERSON, a/k/a Lil C, DEREK ATWATER,
a/k/a Shorty, ROBERT LISENBY, JR., a/k/a Russ, TORIN A. HARRIS, JOHN E. BELL,
SHEMILAH D. CROWE, and JAMES O. BEASLEY, a/k/a Jake shall forfeit to the United
States any and all property constituting or derived from any proceeds the defendants obtained
directly or indirectly as a result of the offenses of which he or she is convicted, and any and all
property used or intended to be used in any manner or part to commit and to facilitate the

commission of the offenses of which he or she is convicted.

3. If convicted of the offenses set forth in Counts One through Three of this
Indictment, DAVID C. CARROLL, MICHAEL HYATTE, LANCE L. HATCHER, JR.,
NATHANIEL DIXSON, a/k/a Dog, CONWAY JEFFERSON, a/k/a Lil C, DEREK ATWATER,
a/k/a Shorty, ROBERT LISENBY, JR., a/k/a Russ, TORIN A. HARRIS, JOHN E. BELL,
SHEMILAH D. CROWE, and JAMES O. BEASLEY, a/k/a Jake shall also forfeit to the United
States, pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States Code,

Section 2461(c), any firearm or ammunition involved in or used in any of the offenses of which
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he or she is convicted.

A TRUE BILL:

JOSH J. MINKLER
United $tates Attorney

Wo 4. Lae

Bradley A. Blackington
Assistafit United States Attorney

 

By:

 
